Case 1:19-bk-13274   Doc 63   Filed 04/07/21 Entered 04/07/21 11:28:02   Desc Main
                              Document     Page 1 of 5
Case 1:19-bk-13274   Doc 63   Filed 04/07/21 Entered 04/07/21 11:28:02   Desc Main
                              Document     Page 2 of 5
Case 1:19-bk-13274   Doc 63   Filed 04/07/21 Entered 04/07/21 11:28:02   Desc Main
                              Document     Page 3 of 5
Case 1:19-bk-13274   Doc 63   Filed 04/07/21 Entered 04/07/21 11:28:02   Desc Main
                              Document     Page 4 of 5
Case 1:19-bk-13274       Doc 63      Filed 04/07/21 Entered 04/07/21 11:28:02      Desc Main
                                     Document     Page 5 of 5



                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                CINCINNATI DIVISION

 In Re:                                          Case No. 1:19-bk-13274

 Anthony Tenkotte                                Chapter 13

 Debtor                                          Judge Jeffery P. Hopkins

                                CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on April 7, 2021 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by first class mail on April 7, 2021 addressed to:

          Anthony Tenkotte, Debtor
          3976 Williams Dr.
          Cincinnati, OH 45255

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor
